Case 2:04-CV-02881-BBD-tmp Document 4 Filed 06/20/05 Page 1 of 2 Page|D 10

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UNITED STA TES DISTRICT COUR'I`
WESTERN DISTRICT oF TENNESSEE 05 JU~ 20 Pn z= m
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JOSEPI'I TI'IOMAS JUDGMENT IN A CIVIL CASE
v¢
EDWIN C. LENOW, et al. CASE NO: 04-2881-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS 80 ORDERED AND ADJUDGED that in accordance with the Order Of
Dismissal entered on June 9, 2005, this cause is hereby dismissed.

?»'~ZOBERT R. D| TRGL!O

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This document entered on the docket heat in compliance
with Ru|e 55 and/or 79(a) FRCP on {; Q” 21 "Cé __ é[

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02881 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Joseph Thomas
2777 N. Buckner Blvd., #1 15
Dallas, TX 75228

Honorable Bernice Donald
US DISTRICT COURT

